
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1121-04






DARRELL GRIFFITH, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY





		Price J., delivered the opinion of the Court, in which Keller, P.J., Meyers,
Womack, Johnson, Keasler, Hervey, and Cochran, JJ., joined.  Cochran, J., filed a
concurring opinion.  Holcomb, J., filed a dissenting opinion.


O P I N I O N



	The appellant pled guilty without a plea bargain to unlawfully carrying a weapon
on a premise that is licensed to sell alcohol, a third-degree felony.  The appellant
expressly waived his right to the preparation of a presentence investigation (PSI) report. 
The trial court deferred adjudication of guilt and placed the appellant on community
supervision.  Later, the State filed a motion to adjudicate guilt.  The trial court found one
of the allegations in the motion true.  After the trial court decided to proceed with
adjudication and before sentencing, the appellant requested the preparation of a PSI
report.  The trial court denied the request and, after hearing evidence, sentenced the
appellant to four years' imprisonment. 

	On direct appeal, the appellant complained that Code of Criminal Procedure
Article 42.12, Section 9 required that the trial court have a PSI report prepared upon
request.  The Court of Appeals disagreed and affirmed the appellant's sentence. (1)  It held
that (1) the appellant may waive the preparation of a PSI report and  (2) the waiver was
effective for the sentencing proceedings. (2)  We granted review to determine whether the
Court of Appeals was correct in holding that the trial court did not err under these
circumstances.  We affirm the Court of Appeals because, based on the plain meaning of
the language in Article 42.12, the appellant could waive his right to the PSI report during
the initial plea proceedings and the waiver was effective for the sentencing proceedings.

II.  Analysis


	To address the appellant's grounds for review, we will first review Article 42.12,
Section 9.   In interpreting a statute, we adhere to our cardinal rule of statutory
construction: We interpret a statute in accordance with the plain meaning of its language,
unless the language is ambiguous or the plain meaning leads to absurd results that the
legislature could not possibly have intended. (3)  In statutory interpretation, we try to give
effect to the whole statute, which includes each word and phrase, if possible. (4)

A.  A Defendant May Waive the Preparation of a PSI Report


	Section 9 directs the trial court to have a community-supervision officer prepare a
PSI report before sentencing unless one of the enumerated exceptions apply. (5)  The section
provides that, unless requested by the defendant in a felony case, the trial court is not
required to order the report prepared if 

	(1) punishment is to be assessed by a jury;

	(2) the defendant is convicted of or enters a plea of guilty or nolo
contendere to capital murder;

	(3) the only available punishment is imprisonment; or

	(4) the judge is informed that a plea bargain agreement exists, under which
the defendant agrees to a punishment of imprisonment, and the judge
intends to follow the agreement. (6)

In Whitelaw v. State, we interpreted this provision to mean that, in a felony case, the trial
court should have a PSI report prepared (1) if the defendant or his attorney request it and
(2) if the defendant is eligible for court-ordered community supervision, even if the
defendant does not request it. (7)

	The section provides two exceptions in a misdemeanor case (1) if the defendant
requests that a report not be made and the judge agrees to the request and (2) if the judge
finds that there is sufficient information in the record to permit the meaningful exercise of
sentencing discretion and the judge explains this finding on the record. (8)  In a
misdemeanor case, the trial court have a report prepared unless one of the two exceptions
is met.

	The appellant argues that these two subsections, when read together, mean that the
preparation of a PSI report in a felony case may not be waived if the defendant is eligible
for court-ordered community supervision.  The Court of Appeals disagreed and cited
Code of Criminal Procedure Article 1.14 for the proposition that "the defendant in a
criminal prosecution for any offense may waive any right secured to him by law . . ." (9)  We
will address the appellant's argument.

	Section 9 requires a PSI report more often in a felony case than in a misdemeanor
case.  But, there is nothing in Section 9 that prevents the defendant in a felony case from
waiving the preparation of the report.  Because the legislature did not address this in
Section 9, Article 1.14 controls and allows a defendant to waive the preparation of the
report.  We hold that a defendant in a felony case may waive his right to the preparation
of a PSI report, even when he is eligible for community supervision.  

	The appellant in this case waived his right to the report during his initial plea.  We
must determine whether that waiver was effective for the sentencing proceedings.

B.  The Appellant's Waiver Was Effective During the Sentencing Proceedings


	The Court of Appeals held that the appellant's waiver continued and was effective
during the sentencing proceedings.  It relied on its holding in McClendon v. State. (10)  In
that case, the Court of Appeals held that, because adjudication proceedings are a
continuation of the initial plea proceedings in which the trial court deferred adjudication,
a valid waiver of the PSI report at that time continues throughout the later proceedings. (11) 
McClendon predated legislative changes that we addressed in Whitelaw.  The Court of
Appeals concluded that, because we did not address deferred adjudication cases in
Whitelaw, there was no reason to retreat from its prior holding in McClendon. (12) 

	The appellant acknowledges the Court of Appeals's holding in McClendon, but
argues that the legislative changes and Whitelaw call McClendon into question.  He also
attempts to distinguish McClendon on the basis that the trial court in that case had a great
deal of information to consider during punishment. (13)

	The appellant argues that Section 9 requires that the trial court have the report
prepared because he requested it.  He cites Buchanan v. State, (14) in which the Texarkana
Court of Appeals held that the trial court should have had a PSI report prepared prior to
sentencing and after adjudication because none of the exceptions in Section 9 applied in
the case. (15)

	We note that the appellant's reliance on Buchanan is misplaced because there is no
indication that the defendant in that case waived his right to a PSI report during the initial
plea proceedings. (16)  The issue in the appellant's case is what effect, if any, the appellant's
waiver had on the appellant's later request for the report.  Buchanan is not persuasive
authority that applies to the facts in the appellant's case.

	The State argues that Whitelaw does not apply to the appellant's case because it
does not address or purport to overrule the line of cases dealing with deferred
adjudication proceedings.  The State cites cases from four of the Courts of Appeals that
have explicitly addressed the issue and have held that a request for a PSI in the context of
a felony adjudication hearing is different than in traditional felony proceedings. (17) 
According to the State, the reasoning in those cases follows the reasoning of the Court of
Appeals in this case.  These cases predate our opinion in Whitelaw.

	Once again, our inquiry begins with a review of Section 9.  The relevant portion of
Section 9 says that:  

	Except as provided by Subsection (g) of this section, before the imposition
of sentence by a judge in a felony case, . . . the judge shall direct a
supervision officer to report to the judge in writing on the circumstances of
the offense with which the defendant is charged, the amount of restitution
necessary to adequately compensate a victim of the offense, the criminal
and social history of the defendant, and any other information relating to the
defendant or the offense requested by the judge. It is not necessary that the
report contain a sentencing recommendation, but the report must contain a
proposed client supervision plan describing programs and sanctions that the
community supervision and corrections department would provide the
defendant if the judge suspended the imposition of the sentence or granted
deferred adjudication. (18)

The statute directs the trial judge to have the report prepared before the imposition of the
sentence.  It also dictates that the report must contain a proposed plan for community
supervision in the event that the trial court suspends the defendant's sentence and places
him on community supervision.  We must interpret this section in the context of all of
Article 42.12.

	Strictly speaking, when the trial court defers adjudication and places the defendant
on community supervision, it has not imposed a sentence, even though the defendant is
placed on community supervision.  According to Article 42.12, Section 5(b), the case
stops just before the trial court finds the defendant guilty. (19)  "After an adjudication of
guilt, all proceedings, including assessment of punishment, pronouncement of sentence,
granting of community supervision and defendant's appeal continue as if the adjudication
of guilt had not been deferred." (20)  The sentence is imposed only after the trial court
revokes deferred-adjudication community supervision and adjudicates the defendant
guilty. (21)   Functionally, it is all one proceeding, and if the trial court decides to adjudicate
guilt, the proceedings continue as if no time had elapsed between the plea and the
sentencing.  

	In Whitelaw, we held that the legislature's changes to Article 42.12, Section 9
indicated that the trial courts were required in felony cases to have a PSI prepared unless
one of the statutory exceptions applied. (22)  These changes did not affect the nature of
deferred adjudication proceedings, however.

	We agree with the Court of Appeals in this case.  Because the initial plea and the
adjudication and sentencing were really one legal proceeding, the appellant's waiver
continued to be effective.  This interpretation is not ambiguous and does not produce
absurd results.  The legislature did not require a PSI report every time there is an option to
place a defendant on community supervision, and it is not an absurd result that a
defendant's waiver in one portion of a single proceeding remain in effect during another
part of the proceeding.  We hold that the appellant's waiver remained effective after
adjudication occurred.

	We are mindful that a new PSI report when a defendant is eligible for regular
community supervision (upon revocation of deferred adjudication community
supervision) would probably be helpful to the trial court in assessing punishment.  A
defendant may be put on deferred-adjudication community supervision for a period of up
to ten years.  A lot can happen during that time, and it would be helpful for the trial court
to have information to determine whether community-based options are appropriate in a
given case.

	We want to make clear that we are not holding that the trial court was
unauthorized to have a PSI report prepared in this case.  We are holding that the plain
meaning of the language of Section 9, when read in the context of the entirety of Article
42.12, does not require that the trial court have a report prepared under the circumstances
of this case.

III.  Conclusion


	We conclude that the Court of Appeals was correct in holding that the trial court
did not err in this case.  We affirm the judgment of the Court of Appeals.


Delivered: June 29, 2005

Publish.
1. Griffith v. State, 135 S.W.3d 337, 340 (Tex. App.--Houston [14th Dist.] 2004).
2. Id. at 339-40.  The Court of Appeals also held that a defendant may not withdraw his
waiver of the PSI report.  Because the appellant does not challenge this holding, we will not
address it.
3. Boykin v. State, 818 S.W.2d 782, 785 (Tex. Crim. App.1991).
4. Nguyen v. State, 1 S.W.3d 694, 696 (Tex. Crim. App. 1999).
5. Tex. Code Crim. Proc. Art. 42.12, § 9(a).
6. Tex. Code Crim. Proc. Art. 42.12, §9(g).
7. Whitelaw v. State, 29 S.W.3d 129, 131-32 &amp; n.13 (Tex. Crim. App. 2000).
8. Tex. Code Crim. Proc. Art. 42.12, §9(b).
9. Griffith, 135 S.W.3d at 339 (citing Tex. Code Crim. Proc. Art. 1.14(a)).
10. 784 S.W.2d 711 (Tex. App.--Houston [14th Dist.] 1990, pet. ref'd).
11. Id. at 713.  Accord Daniel v. State, 877 S.W.2d 75, 77 (Tex. App.--Houston [1st Dist.]
1994, pet. ref'd).
12. Griffith, 135 S.W.3d at 339.
13. McClendon, 784 S.W.2d at 714.  In Whitelaw, we explained that the amount of
information the trial court had received from a full punishment hearing did not exempt the trial
court from Section 9's requirements, though it might have an impact on the finding of harm in
the event that the trial court erred.  Whitelaw, 29 S.W.3d at 132.
14. 68 S.W.3d 136 (Tex. App.--Texarkana 2001, no pet.).
15. Id. at 139.  The Court of Appeals also held that Buchanan did not preserve error and that
he was not harmed.  Id. at 140.
16. Id. at 138.
17. The State cites Fisher v. State, Nos. 05-96-01968-CR &amp; 05-96-01969, 1999 Tex. App.
LEXIS 6483, (Tex. App.--Dallas 1999, no pet.) (not designated for publication); Guzman v.
State, 923 S.W.2d 792, 798 (Tex. App.--Corpus Christi 1996, no pet.); Daniel, 877 S.W.2d at
76-77; McClendon, 784 S.W.2d at 711.
18. Tex. Code Crim. Proc. Art. 42.12, §9(a).
19. Taylor v. State, 131 S.W.3d 497, 500 (Tex. Crim. App. 2004).
20. Tex. Code Crim. Proc. Art. 42.12, §5(b).
21. Ibid.
22. Whitelaw, 29 S.W.3d at 134.


